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                             Exhibit A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


U.S. CONFERENCE OF CATHOLIC
BISHOPS,

               Plaintiff,
                                                           Civil Action No. 25-0465 (TNM)
       v.

DEPARTMENT OF STATE, et al.

               Defendants.


                      DECLARATION OF ANDREW GRADISON,
            ACTING ASSISTANT SECRETARY FOR CHILDREN AND FAMILIES

I, Andrew Gradison, for my declaration, hereby state as follows:

       1.      I am the Acting Assistant Secretary for Children and Families (ACF), an operating

division of the Department of Health and Human Services (HHS). In this role, I oversee the Office

of Refugee Resettlement (ORR). I have held this position since January 27, 2025.

       2.      I make this declaration based on my official knowledge, information acquired by

me in the course of performing my official duties, information contained in the records of HHS,

and information supplied to me by current HHS employees.

       3.      I submit this declaration in support of Defendant’s supplemental opposition to

Plaintiff’s amended preliminary injunction in order to explain how ORR provides employment

training and placement, English language learning, and cash assistance to refugees.

       4.      ORR provides benefits and services to refugees, asylees, Afghan and Iraqi special

immigrants, Cuban/Haitian Entrants, victims of trafficking, Amerasians from Vietnam, and other

groups designated by Congress, such as parolees from Afghanistan and Ukrainians.            ORR

collectively refers to the groups it serves as refugees.



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       5.      ORR awards grants called refugee support services (RSS) grants, which go to a

combination of state governments and private nonprofit agencies. States and nonprofit agencies

use these funds primarily for employability services, such as individual employment plans,

referrals to job opportunities and English language instruction. 45 CFR §§ 400.146; 400.154.

       6.      ORR currently has RSS grants in 49 states and the District of Columbia. Each grant

serves the geographic area of a particular state. However, the grant in Texas covered by the

nonprofit agency Catholic Charities Fort Worth has been paused under the authority of HHS’s

Secretarial Directive on Program and Payment Integrity, dated February 3, 2025.

       7.      ORR also reimburses state governments and provides grants to nonprofit entities

for up to 12 months of cash assistance given to refugees ineligible for cash assistance under the

Temporary Assistance for Needy Family program. As a condition for receiving cash assistance,

refugees must participate in employability services funded through the RSS grants. 8 U.S.C. §

1522(e)(2); 45 CFR § 400.75.

       8.      ORR currently is reimbursing 35 state governments and the District of Columbia

for refugee cash assistance and has grants in place with 14 nonprofit agencies to provide this cash

assistance to refugees. However, the grant in Texas covered by the nonprofit agency Catholic

Charities Fort Worth has been paused under the authority of HHS’s Secretarial Directive on

Program and Payment Integrity dated February 3, 2025.

       9.      ORR also provides grants through the Matching Grant Program. This program

provides services to refugees including case management, employment skills training, job

referrals, and family budget planning. The intent of the program is to assist refugees in becoming

self-sufficient through employment within 240 days without accessing cash assistance.




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       10.      ORR has issued grants to nine private nonprofit agencies for the Matching Grant

program. However, funding for four of these grantees – Ethiopian Community Development

Council, Global Refuge, U.S. Conference of Catholic Bishops, and U.S. Committee for Refugee

and Immigrants – has been paused under the authority of HHS’s Secretarial Directive on Program

and Payment Integrity dated February 3, 2025.



I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



                                      Executed this 5th day of March 2025, Washington, D.C.




                                      ___________________________

                                      Andrew Gradison




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